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                            EXHIBIT A
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                                          File Number               6825-856-1




  To all to whom these Presents Shall Come, Greeting:
  I, Jesse White, Secretary of State of the State of Illinois, do hereby
  certify that I am the keeper of the records of the Department of
  Business Services. I certify that
   NATIONAL RIFLE ASSOCIATION OF AMERICA, INCORPORATED IN NEW YORK AND
   LICENSED TO CONDUCT AFFAIRS IN THIS STATE ON FEBRUARY 28, 2012, APPEARS TO
   HAVE COMPLIED WITH ALL THE PROVISIONS OF THE GENERAL NOT FOR PROFIT
   CORPORATION ACT OF THIS STATE, AND AS OF THIS DATE, IS A FOREIGN
   CORPORATION IN GOOD STANDING AND AUTHORIZED TO CONDUCT AFFAIRS IN THE
   STATE OF ILLINOIS.




                                             In Testimony Whereof, I hereto set
                                             my hand and cause to be affixed the Great Seal of
                                             the State of Illinois, this    10TH
                                             day of SEPTEMBER A.D.             2018       .


Authentication #: 1825303246 verifiable until 09/10/2019
 Authenticate at: http://www.cyberdriveillinois.com
                                                                     SECRETARY OF STATE
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                            EXHIBIT B
9/12/2018                         Case 1:18-cv-01320-LMB-TCB DocumentCORP/LLC
                                                                      34-2 Filed       09/14/18
                                                                              - File Detail Report Page 4 of 18 PageID# 153




                                     CORPORATION FILE DETAIL REPORT
                                      File Number            68258561

                                      Entity Name            NATIONAL RIFLE ASSOCIATION OF AMERICA

                                      Status                 ACTIVE

                                      Entity Type            CORPORATION                 Type of Corp                 NOT-FOR-PROFIT

                                      Qualification Date     02/28/2012                  State                        NEW YORK
                                     (Foreign)

                                      Agent Name             ILLINOIS CORPORATION        Agent Change Date            02/28/2012
                                                             SERVICE C

                                      Agent Street Address   801 ADLAI STEVENSON DRIVE   President Name & Address

                                      Agent City             SPRINGFIELD                 Secretary Name & Address

                                      Agent Zip              62703                       Duration Date                PERPETUAL

                                     Annual Report Filing    02/01/2018                  For Year                     2018
                                     Date

                                     Return to the Search Screen                                         Purchase Certificate of Good Standing




                                                                                                             (One Certificate per Transaction)


                                     OTHER SERVICES

                                       File Annual Report


                                       Adopting Assumed Name
https://www.ilsos.gov/corporatellc/CorporateLlcController                                                                                        1/2
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                            EXHIBIT C
9/10/2018Case        1:18-cv-01320-LMB-TCB Document NRA|Field
                                                    34-2 Filed      09/14/18 Page 6 of 18 PageID# 155
                                                              Representatives




                                                                              NRA PROGRAMS

                                                                         POLITICS & LEGISLATION

                                                                                JOIN/RENEW

                                                                                CONTRIBUTE

                                        Home › Field Representatives

       Field Representatives
                                        NRA Field Representatives
       › Field Representatives
                                                                        DIRECTOR OF FIELD STAFF

                                                                        Philip Gray
                                                                        PGray@nrahq.org




                                                                       EASTERN REGIONAL DIRECTOR

                                                                        Bryan Hoover
                                                                        BHoover@nrahq.org




                                         AREA 1: MAINE, VERMONT, AND NEW HAMPSHIRE


                                                                        Brian Smith
                                                                        BSmith@nrahq.org




                                         AREA 2: NEW YORK


                                                                        Bruce McGowan
                                                                        BMcGowan@nrahq.org




                                         AREA 3: LOWER NEW YORK, MASSACHUSETTS, RHODE ISLAND, CONNECTICUT, AND NEW JERSEY


                                                                        Craig Decker
                                                                        CDecker@nrahq.org




                                         AREA 4: DELAWARE AND EASTERN PENNSYLVANIA


                                                                        Kory Enck
                                                                        Senior Field Representative
                                                                        KEnck@nrahq.org




                                         AREA 5: WESTERN PENNSYLVANIA


                                                                        C. Thomas Baldrige
                                                                        Senior Field Representative
                                                                        TBaldrige@nrahq.org




                                         AREA 7: WESTERN VIRGINIA, WESTERN MARYLAND, AND WEST VIRGINIA



http://fieldreps.nra.org/                                                                                                   1/7
9/10/2018Case      1:18-cv-01320-LMB-TCB Document NRA|Field
                                                  34-2 Filed      09/14/18 Page 7 of 18 PageID# 156
                                                            Representatives
                                                                    James R. Kilgore
                                                                    Senior Field Representative
                                                                    JKilgore@nrahq.org




                                       AREA 12: SOUTHERN OHIO


                                                                    David Graham
                                                                    DGraham@nrahq.org




                                       AREA 45: EASTERN VIRGINIA, EASTERN MARYLAND, AND WASHINGTON DC


                                                                    David Wells
                                                                    Senior Field Representative
                                                                    DWells@nrahq.org




                                       AREA 49: NORTHERN OHIO


                                                                    Marc Peugeot
                                                                    MPeugeot@nrahq.org




                                                                CENTRAL REGIONAL DIRECTOR

                                                                    Chad Franklin
                                                                    CFranklin@nrahq.org




                                       AREA 13: NORTHERN MISSOURI


                                                                    Travis Scott
                                                                    Senior Field Representative
                                                                    TScott@nrahq.org




                                       AREA 14: INDIANA


                                                                    Craig Haggard
                                                                    Senior Field Representative
                                                                    CHaggard@nrahq.org




                                       AREA 15: KENTUCKY


                                                                    John LaRowe
                                                                    Senior Field Representative
                                                                    JLaRowe@nrahq.org




                                       AREA 17: WISCONSIN


                                                                    Scott Taetsch
                                                                    Senior Field Representative
                                                                    STaetsch@nrahq.org




                                       AREA 18: NORTHERN ILLINOIS


                                                                    Michael F. Huber
                                                                    Senior Field Representative
                                                                    MHuber@nrahq.org




http://fieldreps.nra.org/                                                                               2/7
9/10/2018Case      1:18-cv-01320-LMB-TCB Document NRA|Field
                                                  34-2 Filed      09/14/18 Page 8 of 18 PageID# 157
                                                            Representatives


                                       AREA 19: SOUTHERN MISSOURI


                                                                    Timothy Besancenez
                                                                    TBesancenez@nrahq.org




                                       AREA 23: IOWA AND NEBRASKA


                                                                    Tim Bacon
                                                                    Senior Field Representative
                                                                    TBacon@nrahq.org




                                       AREA 51: MICHIGAN


                                                                    Allan Herman
                                                                    Senior Field Representative
                                                                    AHerman@nrahq.org




                                       AREA 52: SOUTHERN ILLINOIS


                                                                    Donald Higgs
                                                                    Senior Field Representative
                                                                    DHiggs@nrahq.org




                                                                SOUTHERN REGIONAL DIRECTOR

                                                                    Alfred L. "Al" Hammond III
                                                                    AHammond@nrahq.org




                                       AREA 8: EASTERN NORTH CAROLINA


                                                                    Garland B. Storey III
                                                                    GStorey@nrahq.org




                                       AREA 9: SOUTH CAROLINA


                                                                    Freeman Coleman
                                                                    FColeman@nrahq.org




                                       AREA 10: GEORGIA


                                                                    Neely Raper
                                                                    NRaper@nrahq.org




                                       AREA 11: NORTHERN FLORIDA


                                                                    Bret Eldridge
                                                                    PEldridge@nrahq.org




                                       AREA 16: LOUISIANA




http://fieldreps.nra.org/                                                                             3/7
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                            EXHIBIT D
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                                          File Number               1265-100-7




  To all to whom these Presents Shall Come, Greeting:
  I, Jesse White, Secretary of State of the State of Illinois, do hereby
  certify that I am the keeper of the records of the Department of
  Business Services. I certify that
   ILLINOIS STATE RIFLE ASSOCIATION, A DOMESTIC CORPORATION, INCORPORATED
   UNDER THE LAWS OF THIS STATE ON NOVEMBER 08, 1913, APPEARS TO HAVE
   COMPLIED WITH ALL THE PROVISIONS OF THE GENERAL NOT FOR PROFIT
   CORPORATION ACT OF THIS STATE, AND AS OF THIS DATE, IS IN GOOD STANDING AS
   A DOMESTIC CORPORATION IN THE STATE OF ILLINOIS.




                                             In Testimony Whereof, I hereto set
                                             my hand and cause to be affixed the Great Seal of
                                             the State of Illinois, this    11TH
                                             day of SEPTEMBER A.D.             2018       .


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                                                                     SECRETARY OF STATE
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                             EXHIBIT E
9/11/2018                       Case 1:18-cv-01320-LMB-TCB Document   34-2
                                                               Join NRA         Filed
                                                                        - Official     09/14/18
                                                                                   Membership          Page 12 of 18 PageID# 161
                                                                                              Application




                                                                   JOIN NRA TODAY!
                                                           C H O O S E YO U R F R E E G I F T

                                                            1. CHOOSE YOUR MEMBERSHIP TERM


                                          1 YEAR                                                             2 YEARS

                                          $40                                                                $75
                                                                                                           BEST VALUE!
                                          3 YEARS                                                            5 YEARS

                                          $100                                                              $140
                                                           Ready to make the ultimate NRA commitment?
                                                           Find out more about NRA Lifetime Membership!




                                                                        CONTINUE 


                                                               2. CHOOSE YOUR FREE THANK YOU GIFT

                                                               3. CHOOSE A MAGAZINE SUBSCRIPTION

                                                                   4. ENTER YOUR INFORMATION

                                                               5. ENTER YOUR PAYMENT INFORMATION


   Contributions, gifts or membership dues made or paid to the National Ri e Association of America are not refundable or
   transferable and are not deductible as charitable contributions for Federal income tax purposes. $3.75 of the membership
https://membership.nra.org/Join/Annuals                                                                                            1/2
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                             EXHIBIT F
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                             EXHIBIT G
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